Case 1:04-cV-01322-.]DT-ST 0 ` d 06/24/05 Page 1 of 4/\ Page|D 17
(` 2 “~§7" §
/5
dsz ""`_

in THE UNITEI) sTATEs DISTRJCT CoURT »/(., _V,»}
FOR THE WESTERN DlsTRlCT oF TENNESSEE _ 4 /~,,`,” ‘~<€_’

 
 

EASTERN I)IvIsIoN ; i-;/ g
-/ /;) 3
/ §(// nw/"i;"i §
MARCUS DALE JoHNsoN, # 352281, ) /:/f 0,:§4’4(;,=
) altij
. . . '\"_.:;f!:-
Piamuif, ) ’“
)
v. ) No. l:04-cv-01322
) JUDGE ToDi)
sTATE oF TENNESSEE, )
)
Defendant. )

 

O]U)ER GRANTING SECONI) MOTION FOR ENLA.RGEM_ENT OF TIME

 

/,,,// THIS MATTER comes before the Court upon the motion of the defendant, State
of `Tennessee, for an enlargement of time in to respond to the complaint, pursuant to Fed. R. Civ.
P. ()(b). Tlie Couit, having reviewed and considered the inotion, FINDS that good cause has been
shown for an enlargement of time in Which to respond to the complaint

lt is therefore ORDERED that defendant State of Tennessee is GRANTED a four
(-4) day enlargement oftime in which to file a response to the complaint Such response shall be

due on or before July 1,2005.

ir is so oRDERED ihis;£/€’§y er , 2005

<Q.WM/ M

 

 

Thls document entered on the docket sheet

_ fn co |iance
with sure 53 and.'or_re (a) FRcP on _CL,ZQEJ:D_§

mms/ries ~]'

Case 1:04-cv-01322-.]DT-STA Document 11 Filed 06/24/05 Page 2 of 4 Page|D 18

Subrnitted for entry by'.

PAUL G. SUMMERS
Attorney General and Reporter

MICHAEL B. sCHWEGt§§R, BQH 22563
Assistant Attorney Gen eral

Office of The Attorney General

Civil Rights & Claims Division

P.O. Box 20207

Nashville, TN 37202

(615) 532-2500

CERTIFICATE OF SERVICE

l hereby certify that true and exact copies of the foregoing were served by first-
class U.S. l\/lail, postage pre-paid, upon

Marcus Dale lohnson, # 35228]
WTSP

PO Box llSO

Henning, TN 38041

and

l\/Iichael B. Schwegler
Assistant Attorney General

Offi ce of The Attorney General
Civil Rights & Claims Division
P.O. Box 20207

Nashvnie, TN 37202

on this the m day of , 2005.

 

Clerl</Judge

131 wsm/les ~2'

Case 1:04-cv-01322-.]DT-STA Document 11 Filed 06/24/05 Page 3 of 4 Page|D 19

CERTIF] CATE OF` SERVICE

l hereby certify that true and exact copies of the foregoing were served by fn"st»
class U.S. Mail, postage pre-paid, upon

Marcus Dale Johnson, # 352281
WTSP

PO Box l 150
l-lenning, TN 3804]

on this the 23rd day of.lune, 2005.

l\/lichael B. Schwegler
Assistant Attorney General

musa/iss -3-

STAES DISTRICT OURT - WESTERN D'I'ISRCTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case l:04-CV-01322 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Michael B. SchWegler

Offlce of the Attorney General
P.O. Box 20207

Nashville, TN 37202--020

Marcus Dale Johnson
35228]

P.O. Box l 150
Henning, TN 38041

Honorable J ames Todd
US DISTRICT COURT

